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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF OHIO
                            WESTERN DIVISION

 UNITED STATES OF AMERICA,                   :      Case No. 1:18-cr-43
                                             :
 vs.                                         :      Judge Timothy S. Black
                                             :
 YANJUN XU,                                  :
                                             :
        Defendant.                           :

                                         ORDER

       This case is before the Court on the entries of appearance of Thea D. R. Kendler,

Esq. (Doc. 9) and Amy E. Larson, Esq. (Doc. 10) as additional trial counsel on behalf of

the Government.

       The Court finds that Attorneys Kendler and Larson are authorized to appear before

this Court in the Southern District of Ohio. Accordingly, the Clerk’s Office is hereby

ORDERED to enter Thea D. R. Kendler and Amy E. Larson as additional trial counsel on

behalf of the Government in this case.

       IT IS SO ORDERED.

Date: 10/12/2018                                               s/ Timothy S. Black
                                                           Timothy S. Black
                                                           United States District Judge
